Case 1:19-cv-00958-TWP-DLP Document 79-5 Filed 08/27/19 Page 1 of 3 PagelD #: 1017

IN THE DELAWARE CIRCUIT COURT 2

WILLIAM BARNHOUSE, }
Movant,
Ve ) Gause No, 18D02-9204-CF-45
STATE OF INDIANA, peu Fon
Respondent. - ; DELaWaRe aT GOUNT pagy

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POST-CONVICTION DNA TESTING AGREEMENT AND Fmt, Aies
INSTRUCTIONS TO TESTING LABORATORY 5

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i, The Defendant in this case ts considering whether to file a petition for post-
conviction rellef pursuant fo Indiana Code § 35-38-7-5, Before deciding whether
to file such a petition, the Defendant seeks fo test various evidentiary items for
the presence of DNA as such a test was not available at the time of trial in this
causa, .

2. By agreement of the Innocence Project and the Delaware County Prosecutor's
Office, the following evidence, confirmed to be jn the possession of the Delaware
Clreult Court 2, shail be sent to Bode Cellmark Forensics ("Bode") for post-
conviction DNA testing: . .

a. State's Exhibit 3 (black Jeans of victim)
b. State's Exhibit 4 (rape kit of victim)

3. . The evidence shail be delivered, within 14 days of this agreement, via Federal
Express, to the following address; ATTN: EVIDENCE DEPARTMENT, Bade
Celimark Forensics, 10430 Fumace Road, Sulte 107, Lorton, VA 22079.

4, A representative of the Muncle Police Department will properly package, label
and ship the evidence In a sclentifically acceptable manner designed to protect
the chain of custody of the evidence and to ensure that the evidence Is not
damaged during transit. .

5. Any existing documentation relating to previous testing or analysis conducted by
the Indiana State Police Crime Lab will be forwarded to Bode along with the
evidence.

6. Upon receipt, Bode shall Inventory and photograph the evidence, Before any
_ quantitation or testing begins, Bode shall have a phone call with counse! for

 

 
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William Barmhouse, Seema Salfee, ssalfee@innocencaproject.org; tel, (212) 364+
6982 and Etic Hofiman, Delaware County Prosecutors Office,
ehofiman@co.delawere.in.us: tel. 765-747-7801 ext. 348, fo discuss the case

and the DNA festing being requested.

7 Testing at Bode will proceed in two stages. In the first stage, Bode shall test only
the crime scene evidence and, depending on the results of the testing, the
victim’s reference sample, At the conclusion of testing Bode shall Issue a report
with the sesults of testing. The report shall be delivered, by e-mail and hard
copy, simultaneously to both-parties.

8. If Bode obtains a male DNA profile as a result of the testing of the crime scene
evidence, the partles will arrange to collect a buccal swab reference sample fram
Mr. Bamhouse. Specifics regarding the time, place and personnel who will
collect this reference sample will be agreed to by the parties at a later date. The
reference sample shall be separately shipped, by Federal Express, to Bode.

8. ih the second stage, Bode shall perform DNA testing on Mr. Barmhouse’s
reference sample and issue a report contalning the results of this testing and the
comparison of ir. Bamhouse’s profile to the profile(s) obtained from the crime
scene evidence. The report shall be dellvered, by e-mail and hard copy,

simultaneously to both partes.

10. Bede shall submit any NDIS eligible profiles developed from the crime scene
evidence to the Indiana State Police Crime Laboratory for review for CODIS

entry.

11. Bode will not unnecessarlly consume any evidence samples and will attempt to
preserve all portions of each sample for which consumption fs not scientifically
necessary.

12, Upon request, Bode will provide the parties with the underlying data from its
testing, such as the electronic data, bench notes, worksheets,
elecbopherograms, photographs, and any other documentation that relates to the
testing conducted.

13. The Innocence Project shall bear all costs of testing the evidence and reference
samples, Including any administrative and/or incidental costs of shipping and
receipt.

14. Ef, after completion of the testing, either party desires to examine or test items not |
contemplated in this order, such testing shall proceed by further wiltten
agreement of the parties or by court order.

 
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Atfomey for the State: Attomey for the Defendant:

Erle Hoffman 24232-1718
Chief Deputy Prosecutor
465 Judicial Circult of Indlafiz

   

Fra Watson 8832-49
530 W. New York Streef
indianapolis, IN 46202

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Date

4 ad . .
SO APPROVED AND ORDERED THIS DAY OF Sanwa, , 2018,
ie TY DOWLING, JUDGE

DELAWARE CIRCUIT COURT NO. 2

 

 

 
